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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

    WARNER RECORDS INC. (f/k/a/ Warner
    Bros. Records, Inc.), et al.,

                           Plaintiffs,                  Case No. 19-cv-00874-RBJ-MEH
                   v.

    CHARTER COMMUNICATIONS, INC.,

                           Defendant.

                    CHARTER COMMUNICATIONS, INC’S. OPPOSITION
                         TO PLAINTIFFS’ MOTION TO STRIKE

          Defendant Charter Communications, Inc. (“Charter”) respectfully opposes Plaintiffs’

   motion to strike certain workpapers and updated tables and exhibits that Charter’s damages expert

   disclosed in advance of his October 15, 2021 deposition [Dkt. 540] (“Mot.”), because these

   documents contain no “new” analyses, and in any event their production prior to his deposition

   was not prejudicial.

          The day before his deposition, George Strong—Charter’s rebuttal damages expert—

   provided Plaintiffs’ counsel with a handful of documents he prepared in connection with his

   deposition preparation, consisting of some workpapers and updated tables and exhibits. These

   documents contain no undisclosed opinions, analyses or methods. Rather, the documents clarify

   Mr. Strong’s previously-provided opinions, primarily showing results of his already-disclosed

   opinions if a few alternative, unremarkable inputs are considered—i.e., basic math. Plaintiffs offer

   no explanation beyond their own ipse dixit of how these papers provide “new” opinions or analyses.

          Even if the calculations in the documents were subject to the stricter standard governing

   disclosure of “new” opinions or analyses under Rule 37(c)(1), Mr. Strong’s pre-deposition



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   production did not prejudice Plaintiffs. While the documents were produced the day before Mr.

   Strong’s deposition, Plaintiffs chose to not ask Mr. Strong a single question about their substance

   at his deposition, even though the deposition ended with 30 minutes of unused time. To the extent

   Plaintiffs claim they were prejudiced by the disclosure, they provide no explanation for their failure

   to cure the prejudice by asking Mr. Strong about the contents of these materials when they had the

   opportunity to do so. Their tactical decision to not ask Mr. Strong any such questions or to take

   any lesser steps to cure the purported prejudice cannot be reconciled with the extreme reluctance

   of courts in this district to strike expert testimony on such grounds. And with trial nearly a year

   away, Plaintiffs’ cries of the impossibility of cure cannot be seriously credited.

                                            BACKGROUND

          On May 27, 2021, Plaintiffs’ damages expert, economist Harold Furchtgott-Roth, served

   an opening expert report. On June 28, 2021, pursuant to the deadline in the operative Scheduling

   Order, Charter’s damages expert, George Strong, served a 41-page Rebuttal Report with exhibits,

   contesting certain of Dr. Furchtgott-Roth’s opinions. Grigsby Ex. E. On September 3, 2021, Dr.

   Furchtgott-Roth served: (1) a sur-rebuttal report to Mr. Strong’s rebuttal; and (2) a supplemental

   expert report, purportedly to address discovery produced after his opening report. On September

   21, 2021, per the parties’ agreement, Mr. Strong served a second Rebuttal Report contesting Dr.

   Furchtgott-Roth’s supplemental report. Id. Ex. F. Dr. Furchtgott-Roth was deposed on October

   12, 2021 and Mr. Strong’s deposition was scheduled for October 15, 2021.

          On October 14, 2021, at 3:20 pm MT, Charter’s counsel emailed Plaintiffs’ counsel certain

   documents which counsel said Mr. Strong would have with him at the deposition. Id. Ex. A at 4.

   Contrary to Plaintiffs’ representations (Mot. 3-4), these documents did not offer any “new”



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   opinions, facts, methods or analyses. For example, the 13 pages of updated tables and exhibits

   (collectively, “tables”) are all identical to those in Mr. Strong’s initial rebuttal report, except that

   while Mr. Strong initially premised his opinions on certain ways to count the number of works-in-

   suit, the updated tables merely show the impact of applying the same methods and same analyses

   if the works-in-suit and alleged repeat infringers are filtered to be further limited to the Claims

   Period. Plaintiffs complain (Mot. 3-4) that these materials “do not reveal” how Mr. Strong

   calculated his numbers or what he relied on, overlooking that Mr. Strong expressly discloses that

   these are the works “associated with work-in suit notices sent during the Claims Period.” Grigsby

   Ex. B at 3; see also id. at 5-7 (“associated with at least one work-in-suit notice sent during the

   Claims Period”). Plaintiffs had every opportunity to make further inquiries at deposition.

          Similarly, the workpapers Charter served on October 14 simply reflect sensitivities of Mr.

   Strong’s existing analyses provided in his initial Rebuttal Report (that is, he examines the impact

   on his analyses based on further refinement of the data) that came about during his deposition

   preparation. Plaintiffs do not move to strike Workpapers A or B as untimely (see Mot. 5 n.2), and

   the remaining workpapers offer no “new” opinions or analyses. Specifically, Workpaper C shows

   the impact on Mr. Strong’s gains analyses




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   See id. Ex. F (Sept. 3 Rebuttal Rep.) at 6 [Table 1] (citing June 28 Rebuttal Rep. n.160). 1




                                                  Compare id. Ex. D at 10-13 with Ex. E at 64-65, 72-

   73. And Workpaper E provides the same analysis as Workpaper D, but also accounts for

                                                                                 Compare id. Ex. D at

   14-17 with Ex. E at 64-65, 72-73.

          About four and a half hours after Charter served the updated tables and work papers,

   Plaintiffs responded, contending that the documents were “new opinions, calculations and data”

   and thus untimely. Id. Ex. A at 4. Charter replied that it disagreed with this characterization, but

   that Mr. Strong would be prepared to answer any questions Plaintiffs needed to ask him about

   those materials at his deposition. Id. at 3.

          At his deposition, Mr. Strong testified that, at his own request, he (with his team) prepared

   these papers during the two days before his deposition. Declaration of Dylan I. Scher (“Scher

   Decl.”), Ex. 1 (Tr. 9:12-20). Mr. Strong explained why:

             Q. Why did you ask your team to update your rebuttal and second rebuttal
                reports?

             A. Well, I -- as I was doing a review of my report in preparation for this
                deposition, there were certain aspects of it that I thought needed clarification
                or would benefit from, you know, a clarification.


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       Plaintiffs suggest that Mr. Strong’s opinions about                                  in his
   September 21 Rebuttal Report are also untimely, but other than a single passing reference (see
   Mot. 4), Plaintiffs make no argument to exclude that opinion in Mr. Strong’s report, which was
   served more than a month before Plaintiffs filed this motion, and which Plaintiffs’ counsel had
   more than three weeks to study in advance of his deposition. Any argument of untimeliness is
   therefore waived, and in any event the disclosure was not untimely or prejudicial.


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   Id. (Tr. 10:3-9). But rather than ask Mr. Strong any questions about the contents of the documents,

   Plaintiffs lodged a “standing objection” to the entire production as untimely and refused to ask Mr.

   Strong any questions about them. Id. (Tr. 10:10-15). Charter’s counsel advised that “Mr. Strong

   is prepared to answer any questions you have about those documents today and we encourage you

   to ask him anything you want,” but Plaintiffs’ counsel stated they would not do so. Id. (Tr. 10:22-

   11:11). Plaintiffs ended the deposition with 30 minutes of on-the-record time remaining, without

   asking Mr. Strong any questions about the substance of those documents. Id. (Tr. 266:18-267:3).

          A week later, on October 22, 2021, Plaintiffs’ counsel disclosed their intention to file a

   motion to strike Mr. Strong’s updated tables and workpapers the next Monday, October 25, unless

   Charter withdrew the papers. Grigsby Ex. A at 2. Charter did not withdraw the materials, and

   Plaintiffs filed their motion on October 25 as threatened. Dkt. 540.

                                             ARGUMENT

   I.     MR. STRONG DID NOT DISCLOSE ANY NEW OPINIONS THAT TRIGGER
          RULE 26(A)(2) OBLIGATIONS

          Rule 26 requires an expert witness to disclose “all opinions the witness will express and

   the basis and reasons for them” under the Court’s schedule. Fed. R. Civ. P. 26(a)(2). An expert,

   however, may clarify already-disclosed opinions without automatically triggering the disclosure

   requirements of Rule 26. See Emerson Elec. Co. v. Suzhou Cleva Elec. Appliance Co., Ltd., 2015

   WL 2176964, at *3 (E.D. Mo. May 8, 2015) (denying motion to exclude paragraphs in expert

   declaration that “contain more details” but “are entirely consistent with and do not significantly

   expand on any of the opinions or reasons” already disclosed).

          Plaintiffs’ motion rests on the faulty assumption that new documents must mean new

   opinions. Mot. 6-8. But Mr. Strong’s updated tables and workpapers exemplify how a document


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   may simply add further color to previously-disclosed opinions without constituting “new”

   opinions. Mr. Strong’s updated tables are consistent with his prior analyses, as the updated tables

   apply the same methods as the already-disclosed calculations in his Rebuttal Reports, except that

   the calculations for

            Similarly, Mr. Strong’s workpapers are entirely consistent with his earlier reports,

   applying the same methods, but providing calculations for a subset of data based on

                                                                            This does not involve new

   or different analyses, but rather clarifications about subsets of data already disclosed in Mr.

   Strong’s reports. Emerson, 2015 WL 2176964 at *3. Being prepared to discuss subsets of

   disclosed data is not offering a “new” opinion; if the Court were to hold otherwise, experts would

   be forced to submit reports thousands of pages long to account for every conceivable mathematical

   possibility that an expert could derive. In short, Mr. Strong’s updated tables and workpapers do

   not offer “new” analyses, but reasonably clarify already-offered opinions.              Under such

   circumstances, courts have allowed even post-deposition supplementation of an expert report. See,

   e.g., Emerson, 2015 WL 2176964 at *3; Quinn v Franzen Family Tractors & Parts, LLC, 2018

   WL 9869629 at *2-3 (N.D. Iowa Mar. 6, 2018) (permitting expert to testify on opinions that “did

   not contradict or significantly expand [expert’s] prior opinions”); Taylor v. Cottrell, 795 F.3d 813,

   818-19 (8th Cir. 2015). In Taylor, for example, the Eighth Circuit held that the district court

   abused its discretion by striking a supplemental affidavit submitted by an expert’s business

   manager after her deposition to clarify and put her testimony in context. Id. In contrast, here, Mr.

   Strong merely produced updated tables and workpapers before his deposition—i.e., not a

   supplemental report or declaration.



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          Because Mr. Strong’s production of his updated tables and workpapers did not trigger a

   duty to disclose under Rule 26(a)(2), the motion may be denied on this ground alone.

   II.    EVEN IF MR. STRONG’S PRODUCTION HAD BEEN UNTIMELY, IT SHOULD
          NOT BE STRICKEN

          Even assuming, arguendo, that Mr. Strong’s updated tables or workpapers constituted an

   “untimely” production, that by no means mandates the extreme sanction of striking such materials.

   Whether to exclude an expert disclosure as untimely lies within the Court’s discretion.

   Woodworker’s Supply, Inc. v. Principal Mut. Life Ins. Co., 170 F.3d 985, 993 (10th Cir. 1999). In

   exercising that discretion, courts are “loathe” to invoke the “drastic sanction” of exclusion.

   McAdoo v. IT Educ. Servs., Inc., 2011 WL 2198568, at *2 (D. Colo. Jun. 6, 2011) (collecting

   cases). Courts weighing whether untimely disclosures are substantially justified or harmless

   consider four factors: (1) the prejudice or surprise to the impacted party, (2) the ability to cure the

   prejudice, (3) the potential for trial disruption, and (4) the erring party’s bad faith or willfulness.

   Woodworker’s Supply, Inc., 170 F.3d at 993. Here, even if Mr. Strong’s updated tables or

   workpapers were deemed untimely, the “drastic sanction” of exclusion would be unwarranted

   because any late disclosure was harmless. McAdoo, 2011 WL 2198568, at *2.

          A.      Plaintiffs Identify No Prejudice From Mr. Strong’s Production

          Plaintiffs identify no prejudice from Mr. Strong’s pre-deposition production. Indeed,

   Plaintiffs barely mention prejudice, but only assert without any explanation that the purported late

   disclosures “prevent[ed] Plaintiffs and their expert from having any meaningful opportunity to

   analyze the new opinions before Strong’s deposition, or to rebut them.” Mot. 6-7. That conclusory

   assertion is not enough—despite having had Mr. Strong’s papers for nearly two weeks, Plaintiffs

   still do not articulate what specific aspects of the tables or workpapers they or their expert needed


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   time to “digest” (id. 8), or what they needed to discuss with their own expert (id.). See Blatchley

   v. Cunningham, 2016 WL 9735742 at *4 (D. Colo. Oct. 20, 2016) (“Dr. Janes argues that the

   August 25 disclosures constitute unfair surprise and prejudice to him, but he does not explain why

   or how.”). And for good reason: as discussed supra at 2-4, the information is straightforward and

   entirely consistent with Dr. Strong’s prior analyses.

          In any event, courts in this district have rejected virtually identical claims of prejudice to

   those which Plaintiffs make here. For example, in Bio Med Techs. Corp. v. Sorin CRM USA, Inc.,

   2015 WL 7294791 (D. Colo. Nov. 19, 2015), the court held that any prejudice to the defendant

   from a supplemental expert report served two days before the expert’s deposition was minimal

   despite the defendant’s argument—just as Plaintiffs argue here—that it had “no opportunity to

   seek discovery …, to have its rebuttal expert opine on the late-disclosed information, or to

   adequately prepare to depose [expert] on the new bases in the Supplemental Report” and that

   “curing this prejudice would require setting a new rebuttal expert deadline and reopening fact

   discovery at great expense.” Id. at *6. The court rejected these arguments, noting that the

   “[d]efendant could have moved to extend discovery, to reschedule [the expert’s] deposition, or to

   convene a second deposition of [the expert],” but that the “[d]efendant declined to do so despite

   ample opportunity, as the Final Pretrial Conference was not scheduled for four more months.” Id.

   So too here: the Pretrial Conference is still 10 months away. And here, as in Bio Med, the

   “prejudice was sufficiently minimal that [Plaintiffs] chose not to mitigate it through seeking a

   minor extension of discovery.” Id. Plaintiffs’ own conduct belies any prejudice.

          Plaintiffs’ assertion (Mot. 7) that Mr. Strong “confirmed” that his production disclosed

   “entirely new analyses” not only misreads his testimony, but is of no moment. The sole example



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   offered (Mot. 7) is that Mr. Strong stated that his June 28 Rebuttal Report did not disclose

   “explicitly in the calculation”

                                                                  But Mr. Strong then continued:

               Q. So you do not feel that you can give me a complete answer unless you
                  rely or resort to the materials that were provided to plaintiffs yesterday
                  in order to respond to questions concerning the gains to Charter in
                  customer value; is that correct? [Objection omitted]…

               THE WITNESS:



   Scher Ex. 1 (Tr. 222:2-15) (emphasis added). In other words, Mr. Strong testified he could give a

   complete answer without relying on the October 14 materials by simply using basic multiplication,

   but that his October 14 materials present it “in a clearer form.” This is not prejudice.

          Even assuming his disclosure was untimely, that does not render it prejudicial; otherwise

   the inquiry would be meaningless. Nor, as a practical matter, can Plaintiffs fairly claim to be

   surprised by Mr. Strong’s production—the workpapers and updated tables apply the exact same

   processes already disclosed,

                                                                                          This is not the

   kind of “surprise” that could have caught Plaintiffs off-guard, let alone warrant striking.

          B.       Plaintiffs Had The Ability To Cure The Purported Prejudice, But Refused

          Plaintiffs had multiple opportunities to cure any claimed prejudice but made no attempt to

   do so. Plaintiffs did not ask Mr. Strong any questions about the substance of the October 14 tables

   and workpapers, so they cannot now claim that they did not have a fair opportunity to investigate

   their contents. Indeed, Plaintiffs left a full half hour on the clock at Mr. Strong’s deposition, even

   though Charter’s counsel repeatedly stated that Mr. Strong was prepared to answer any questions


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    about the materials. Instead, Plaintiffs chose to not to try to cure that purported prejudice, and

    instead ask the Court to impose the harshest remedy possible. “[T]he reason why the purported

    Rule 26 violation cannot now be cured is because Plaintiff[s] horded [sic] any opportunity to devise

    a cure away from [Charter] and the Court.” Beebe v. Colorado, 2019 WL 6044742, at *12 (D.

    Colo. Nov. 15, 2019). Such gamesmanship should not be rewarded. If Plaintiffs had simply asked

    Mr. Strong questions about these materials, this motion would have been unnecessary.

           Nor can Plaintiffs’ complaint (Mot. 8) that the deposition was taken on the last day of

    expert discovery be credited. They could have (but did not) asked Charter to consent to Mr. Strong

    being deposed shortly outside the discovery schedule (such as the next week), or could have asked

    for a 30-minute supplemental deposition shortly after his first deposition, limited to his October

    14 materials. They did neither.

           C.       Mr. Strong’s Production Did Not And Will Not Disrupt Trial

           Trial is almost a year away. Dkt. 489 (trial commences on Oct. 24, 2022). That weighs

    heavily against exclusion. Vanderlaan v. Ameriprise Auto & Home Ins., 2021 WL 4441518 at *8

    (D. Colo. Sep. 28, 2021) (declining to exclude expert opinions where “[a]ny prejudice that could

    result … can be cured without any disruption to the trial, which is not set until May 2022,” eight

    months away); see also Great Northern Ins. Co. v. NGL Warehouse, LLC, 2016 WL 11691162, at

    *5 (D. Colo. Sep. 21, 2016) (“this court is not persuaded that any prejudice cannot be cured, given

    the fact that dispositive motions have not been decided and a jury trial is not set to commence” for

    four months).




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           Plaintiffs’ parade of horribles (Mot. 8)—that they would need to “serve yet another report

    from Furchtgott-Roth to rebut Strong’s new analyses”2 and then “re-depose” Strong—is incorrect.

    As a threshold matter, Plaintiffs never asked (and still have not asked) to “re-depose” Mr. Strong,

    so they cannot complain of that lost opportunity. And despite having Mr. Strong’s papers for over

    a week before filing their motion, Plaintiffs still offer no explanation of what “new analyses” their

    expert would rebut, or on what topics they would need to “re-depose” Mr. Strong. Even if the

    Court sua sponte decided to permit a 30-minute supplemental deposition to question Mr. Strong

    on his papers, Plaintiffs’ conclusory assertion that “there simply is no time” (id.) ignores that it is

    nearly 11 months until trial. Dkt. 489. “To the extent that Plaintiff[s’] claim survives summary

    judgment and [they] can persuade the [C]ourt that further discovery of Mr. [Strong] is warranted,

    there will be sufficient time to accomplish such discovery.” Advance Trust & Life Escrow Servs.,

    LTA v. Sec. Life of Denver Ins. Co., 2020 WL 7979020 at *5 (D. Colo. Oct. 26, 2020), report &

    recommendation adopted, 2021 WL 62339 (D. Colo. Jan. 6, 2021).

           D.      Mr. Strong’s Pre-Deposition Disclosure Of Materials Was Not “Willful”

           Finally, contrary to Plaintiffs’ representations (Mot. 9-10), neither Charter nor Mr. Strong

    acted willfully or in bad faith. Plaintiffs simply rehash their timeliness arguments, and then

    conclude “[t]hat timing was clearly designed to prejudice Plaintiffs.” Mot. 10. But such serious

    accusations, supported by nothing more than attorney ipse dixit, should not be countenanced—

    Plaintiffs provide no basis that Charter or Mr. Strong: (1) believed that the papers contained any

    new opinions triggering Rule 26(a)(2) disclosure deadlines; let alone that (2) Mr. Strong or



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       In addition, because Mr. Strong is offered solely as a rebuttal expert, Dr. Furchtgott-Roth
    would not be permitted to serve a report rebutting Mr. Strong’s opinions anyway.


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    Charter’s counsel somehow “designed” the timing of the submission to prejudice Plaintiffs. In

    fact, Mr. Strong explained that he had prepared the papers in just the two days before his own

    deposition “as I was doing a review of my report in preparation for this deposition.” Scher Ex. 1

    (Tr. 10:3-9). Plaintiffs did not question the sincerity of Mr. Strong’s explanation at his deposition,

    nor do they now. Moreover, upon Charter’s receipt of the materials, it disclosed them to Plaintiffs

    before the deposition. To insinuate that Charter’s counsel had these materials but “waited” to

    produce them (Mot. 10) is an unsupportable and uncivil accusation.

           Plaintiffs further err in arguing that “Charter could not provide any justification” for Mr.

    Strong’s “late” disclosure. Mot. 10. To the contrary, in response to Plaintiffs’ query, Charter

    invited Plaintiffs to ask Mr. Strong any questions they liked about the papers at his deposition, and

    Mr. Strong provide a reasonable answer as to why he had not prepared them earlier. While that

    alone is enough, Charter’s position that no “justification” was needed because the papers did not

    trigger Rule 26 disclosure requirements is entirely reasonable; while Plaintiffs may disagree, they

    offer nothing to suggest that such a position was not taken in good faith.

           If anyone erred here, it is Plaintiffs, who could have avoided this motion if they simply

    asked Mr. Strong about the substance of the materials at his deposition. Stubborn refusal to do so

    is not good cause to burden the Court with motion practice on the eve of the dispositive motion

    deadline. Moreover, Plaintiffs never sought—and still do not seek—any lesser form of relief that

    could cure any supposed prejudice, opting for an all-or-nothing gamble, a tactic that should not be

    rewarded. “Although Rule 37(c)(1) authorizes other sanctions for late disclosures besides striking

    the information, [Plaintiffs have] not requested an alternative sanction here.” Boyd v. Home Depot,




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    Inc., 2013 WL 300917, at *3 (D. Colo. Jan. 25, 2013) (denying motion to strike), reconsideration

    granted on alternative grounds, 2013 WL 788085 (D. Colo. Mar. 1, 2013).

                                             CONCLUSION

           The Court should deny Plaintiffs’ motion to strike in its entirety.

    Dated: November 9, 2021                      Respectfully submitted,
    Jennifer A. Golinveaux                       /s/ Andrew H. Schapiro
    WINSTON & STRAWN LLP                         Andrew H. Schapiro
    101 California Street, 35th Floor            Nathan A. Hamstra
    San Francisco, CA 94111-5840                 Allison Huebert
    (415) 591-1506 (telephone)                   QUINN EMANUEL URQUHART &
    (415) 591-1400 (facsimile)                   SULLIVAN, LLP
    E-mail: jgolinveaux@winston.com              191 N. Wacker Drive, Suite 2700
                                                 Chicago, IL 60606
    Michael S. Elkin                             (312) 705-7400 (telephone)
    WINSTON & STRAWN LLP                         (312) 705-7401 (facsimile)
    200 Park Avenue                              E-mail: andrewschapiro@quinnemanuel.com
    New York, NY 10166                           E-mail: allisonhuebert@quinnemanuel.com
    (212) 294-6700 (telephone)
    (212) 294-4700 (facsimile)                   Charles K. Verhoeven
    E-mail: melkin@winston.com                   David Eiseman
                                                 Linda J. Brewer
    Craig D. Joyce                               QUINN EMANUEL URQUHART &
    Fairfield and Woods, P.C.                    SULLIVAN, LLP
    1801 California Street, Suite 2600           50 California Street, 22nd Floor
    Denver, CO 80202                             San Francisco, CA 94111
    (303) 830-2400 (telephone)                   (415) 875-6600 (telephone)
    (303) 830-1033 (facsimile)                   (415) 875-6700 (facsimile)
    E-mail: cjoyce@fwlaw.com                     E-mail: charlesverhoeven@quinnemanuel.com
                                                 E-mail: davideiseman@quinnemanuel.com
                                                 E-mail: lindabrewer@quinnemanuel.com

                                                 Todd Anten
                                                 Jessica Rose
                                                 QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
                                                 51 Madison Avenue, 22nd floor
                                                 New York, NY 10010
                                                 (212) 849-7000 (telephone)
                                                 (212) 849-7100 (facsimile)
                                                 E-mail: toddanten@quinnemanuel.com
                                                 E-mail: jessicarose@quinnemanuel.com

                                                 Counsel for Defendant
                                                 Charter Communications, Inc


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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 9, 2021, I caused the foregoing document and all

    supporting materials thereto to be filed electronically with the Clerk of the Court using the

    CM/ECF system, which will send a notice of electronic filing to all counsel of record registered

    with CM/ECF.

                                                           /s/ Andrew H. Schapiro
                                                           Andrew H. Schapiro




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